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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   CAROL BATTLE NICHOLSON                                          CASE NO. 20-10614
   311 PINEY POINT DRIVE                                           JUDGE BENJAMIN A. KAHN
   HAMLET, NC 28345

               DEBTOR

   SSN(1) XXX-XX-3609                                              DATE: 02/25/2021


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
AMERIMARK                                                     $1,182.18     (U) UNSECURED
% CREDITORS BANKRUPTCY SERVICE                               INT: .00%
P O BOX 800849                                         NAME ID: 154004      ACCT: 804A
DALLAS, TX 75380                                         CLAIM #: 0008      COMMENT:
ASHRO LIFESTYLE                                                 $199.85     (U) UNSECURED
% CREDITORS BANKRUPTCY SERVICE                               INT: .00%
P O BOX 800849                                         NAME ID: 151293      ACCT: 6220
DALLAS, TX 75380                                         CLAIM #: 0009      COMMENT:
BASIC FINANCE                                                 $1,685.84     (U) UNSECURED
P O BOX 879                                                  INT: .00%
ROCKINGHAM, NC 28380                                   NAME ID: 122748      ACCT: 8503
                                                         CLAIM #: 0010      COMMENT:
CAROL WRIGHT                                                      $0.00     (U) UNSECURED
P O BOX 2852                                                 INT: .00%      NOT FILED
MONROE, WI 53566                                       NAME ID: 115243      ACCT: 6AH
                                                         CLAIM #: 0011      COMMENT:
CREDIT ACCEPTANCE                                            $10,448.27     (V) VEHICLE-SECURED
25505 W 12 MILE RD STE 3000                                 INT: 5.25%
SOUTHFIELD, MI 48034                                   NAME ID: 124410      ACCT: 9515
                                                         CLAIM #: 0002      COMMENT: 13KIA
DR LEONARDS SHOP NOW                                            $620.29     (U) UNSECURED
% CREDITORS BANKRUPTCY SERVICE                               INT: .00%
P O BOX 800849                                         NAME ID: 166046      ACCT: 6A4A
DALLAS, TX 75380                                         CLAIM #: 0019      COMMENT:
DUNNS AUTO SALES                                              $5,196.08     (U) UNSECURED
CHAPTER HOLDINGS LLC FBO                                     INT: .00%
P O BOX 748                                            NAME ID: 183337      ACCT:
TULLAHOMA, TN 37388                                      CLAIM #: 0003      COMMENT: COD
EMPLOYMENT SECURITY COMMISSION                                     $0.00    (U) UNSECURED
P O BOX 26504                                                 INT: .00%     NOT FILED
RALEIGH, NC 27611-6504                                    NAME ID: 5777     ACCT:
                                                          CLAIM #: 0013     COMMENT:
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NAME & ADDRESS OF CREDITOR                            AMOUNT       CLASSIFICATION
FARMERS HOME FURNITURE -                            $1,921.69      (S) SECURED
ROCKINGHAM NC                                     INT: 5.25%
ATTN CORPORATE CREDIT DEPT                   NAME ID: 173126       ACCT: 0186
P O BOX 1140                                   CLAIM #: 0001       COMMENT: HH
DUBLIN, GA 31040
FIGIS GALLERY                                           $0.00      (U) UNSECURED
P O BOX 770001                                     INT: .00%       NOT FILED
MADISON, WI 53707                            NAME ID: 182807       ACCT: 14F2
                                               CLAIM #: 0014       COMMENT:
FIRST POINT RESOURCES                                   $0.00      (U) UNSECURED
P O BOX 26140                                      INT: .00%       NOT FILED
GREENSBORO, NC 27402                          NAME ID: 38570       ACCT:
                                               CLAIM #: 0012       COMMENT:
INTERNAL REVENUE SERVICE                                $0.00      (P) PRIORITY
P O BOX 7346                                       INT: .00%       NOT FILED
PHILADELPHIA, PA 19101-7346                  NAME ID: 123770       ACCT: 3609
                                               CLAIM #: 0005       COMMENT:
JC PENNEY                                               $0.00      (U) UNSECURED
P O BOX 965048                                     INT: .00%       NOT FILED
ORLANDO, FL 32896                            NAME ID: 182808       ACCT: 5641
                                               CLAIM #: 0015       COMMENT:
LENDMARK FINANCIAL SERVICES LLC                         $0.00      (S) SECURED
2118 USHER ST                                      INT: .00%       SURRENDERED
COVINGTON, GA 30014                          NAME ID: 157722       ACCT: 2899
                                               CLAIM #: 0004       COMMENT: 04SATU,REL
LENDMARK FINANCIAL SERVICES LLC                     $3,132.25      (U) UNSECURED
2118 USHER ST                                      INT: .00%
COVINGTON, GA 30014                          NAME ID: 157722       ACCT: 2899
                                               CLAIM #: 0020       COMMENT: SPLIT
MONTGOMERY WARD                                       $581.96      (U) UNSECURED
% CREDITORS BANKRUPTCY SERVICE                     INT: .00%
P O BOX 800849                               NAME ID: 151087       ACCT: 6290
DALLAS, TX 75380                               CLAIM #: 0016       COMMENT:
N C DEPARTMENT OF REVENUE                                 $0.00    (P) PRIORITY
BANKRUPTCY UNIT                                      INT: .00%     NOT FILED
P O BOX 1168                                     NAME ID: 9699     ACCT: 3609
RALEIGH, NC 27602-1168                           CLAIM #: 0006     COMMENT:
PUBLISHING CLEARING HOUSE                               $0.00      (U) UNSECURED
P O BOX 6344                                       INT: .00%       NOT FILED
HARLAN, IA 51593                             NAME ID: 145003       ACCT: 8658
                                               CLAIM #: 0017       COMMENT:
RICHMOND CO TAX COLL                                 $133.50       (P) PRIORITY
P O BOX 1644                                       INT: .00%
ROCKINGHAM, NC 28380                          NAME ID: 28281       ACCT: 3847
                                               CLAIM #: 0007       COMMENT:
WILLIAM BOSTICK                                         $0.00      (U) UNSECURED
P O BOX 825                                        INT: .00%       NOT FILED
ROCKINGHAM, NC 28380                         NAME ID: 182927       ACCT:
                                               CLAIM #: 0018       COMMENT:

TOTAL:                                                $25,101.91
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NAME & ADDRESS OF CREDITOR                         AMOUNT      CLASSIFICATION
TODD G SCOTT ESQ                                   $4,500.00   ATTORNEY FEE
P O BOX 873
ROCKINGHAM, NC 28380




                                                               ANITA JO KINLAW TROXLER,
                                                               TRUSTEE
                                                               500 W FRIENDLY AVE STE 200
                                                               P O BOX 1720
                                                               GREENSBORO, NC 27402-1720
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                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 02/25/2021                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
